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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA

 SOCIAL POSITIONING INPUT
 SYSTEMS, LLC,                             Case No: 8:21-CV-00274

          Plaintiff,                       JURY TRIAL DEMANDED
     v.
                                            PATENT CASE
 CALLPASS, LLC,

          Defendant.

                       CALLPASS, LLC’S MOTION TO DISMISS
                         FOR FAILURE TO STATE A CLAIM

          Now comes Defendant CallPass, LLC (“CallPass”), by and through counsel,
and hereby moves this Court, pursuant to Federal Rule of Civil Procedure 12(B)(6),
for an Order dismissing the Complaint filed by Plaintiff Social Positioning Input
Systems, LLC for failure to state a claim upon which relief may be granted. The
points and authorities supporting this Motion to Dismiss are set forth in the
accompanying Memorandum in Support, which is being filed contemporaneously
with this Motion.




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I.      NATURE AND STAGE OF PROCEEDINGS

        On October 20, 2020, Social Positioning Input Systems, LLC filed this lawsuit

accusing Defendant CallPass of infringing U.S. Patent No. 9,261,365. In particular,

Social Positioning accuses CallPass’s IGOTCHA GPS of infringement.

II.     SUMMARY OF THE ARGUMENT

        The claims of the ’365 Patent are directed to the abstract idea of sharing address

information. But sharing address information is not a technological improvement, an

inventive way of applying conventional technology, or even new. See Wireless Media

Innovations, LLC v. Maher Terminals, LLC, 100 F. Supp. 3d 405 (D.N.J. 2015)

(finding similar claims directed to the abstract idea of “monitoring locations,

movement, and load status of shipping containers within a container-receiving yard,

and storing, reporting and communicating this information in various forms through

generic computer functions”) (emphasis added).

        The claims of the ’365 Patent are not directed to an improvement in computer

functionality. Rather, they are directed to “the use of conventional or generic

technology in a nascent but well-known environment.” In re TLI Commc’ns LLC

Patent Litig., 823 F.3d 607, 612, 614 (Fed. Cir. 2016) (“[H]ere we need to only look

to the specification, which describes the [components] as either performing basic

computer functions such as sending and receiving data, or performing functions

‘known’ in the art.”). No particular non-conventional component or programming is

either claimed or disclosed. Social Positioning’s patent does no more than describe



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the basic idea of sending and receiving information related to addresses without

disclosing any novel application of that idea.

        Instead, the approach for sharing address information described in the ’365

Patent may be implemented using generic and conventional technology such as

“communication protocols or systems currently existing . . . for wirelessly transmitting

data.” ’365 Patent at 7:4-5. Indeed, the ’365 Patent’s specification makes clear that it

does not make use of any novel components. Id. at 5:67-6:2 (“[s]uch input devices are

standard and currently available on many electronic devices including portable digital

assistants (PDAs) and cellular telephones.”); 6:19-20 (“any other memory storage that

exists currently”); id. at 7:20-21 (“conventional code encryption algorithms currently

in use”); id. at 8:10-12 (“identity detection devices such as biometric devices are

common and are currently widely in use”). Therefore, the ’365 Patent is invalid under

35 U.S.C. § 101 for failure to claim patent-eligible subject matter.

        Resolving these issues does not require discovery or formal claim construction.

To avoid waste of judicial and party resources unnecessarily litigating invalid patents,

CallPass respectfully requests that the Court dismiss the Complaint for failure to state

a claim. FED. R. CIV. P. 12(b)(6).

III.    STATEMENT OF FACTS

        The ’365 Patent, entitled “Device, system and method for remotely entering,

storing and sharing addresses for a positional information device,” issued on February

16, 2016, from an application filed on September 9, 2009. The applicant contends to



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have identified and solved problems associated with GPS devices which store

addresses locally. See id. at 1:46-2:25. The patent, however, merely implements an

abstract idea using conventional components and communication systems that were

known in the prior art.

        Independent claim 1 of the ’365 patent, which is representative, recites:

        1. A method for receiving location information at a positional
        information device, the method comprising:
                   sending a request from a requesting positional information device
                   to a server for at least one address stored in at least one sending
                   positional information device, the request including a first
                   identifier of the requesting positional information device;
                   receiving at the requesting positional information device, from the
                   server, a retrieved at least one address to the requesting positional
                   information device wherein the server determines a second
                   identifier for identifying the at least one sending positional
                   information device based on the received first identifier and
                   retrieves the requested at least one address stored in the identified
                   at least one sending positional information device.

Id. at cl. 1.Claim 1 of the ’365 Patent is directed to a method of sharing addresses.

Methods for sharing addresses with GPS devices are generically described in the

specification. Id. at 8:23-34 (“system and method for remotely entering, storing and

sharing location address information will be described”) (emphasis added). The

embodiments described in the specification center on sharing address information. See

id. at 9:29-32 (“[i]n one embodiment, the customer service center includes a live

operator 303 that has access to server 304 for looking up address information and

transmitting the information to the device”) (emphasis added). The specification

also describes a situation in which “[a] driver of a vehicle needs assistance in locating


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a point of interest such as a museum in a designated city.” Id at 12:27-28. However,

the applicant did not provide any technical details on how information is shared

beyond what was known in the prior art.

        In Claim 1, a requesting positional information device “send[s] a request . . . for

at least one address” to a server. The request includes “a first identifier” for identifying

the requesting positional information device. The server obtains the requested address

from a “sending positional information device.” The sending positional information

device is identified by a “second identifier.” The positional information devices are

understood to be GPS devices. See id. at Abstract (“a positional information device,

e.g., a global positioning system (GPS) device) (emphasis added). In other words,

Claim 1 recites a generic technique to establish a communications link between one

or more devices and transfer information. No technical details are disclosed, much

less claimed, as to how these processes are accomplished. Claim 1 simply recites

generic and well known hardware components performing standard functions.

IV.     ARGUMENT


        A.         Legal Standard


                   1.   This Case Should Be Disposed of at the Pleading Stage

                        Through Rule 12(b)(6)

        Under Rule 12(b)(6), a party may move to dismiss a complaint that fails to state

a claim upon which relief can be granted. To survive a Rule 12(b)(6) motion, “[f]actual



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allegations contained in a complaint must "raise a right to relief above the speculative

level.”” Bassett v. National Collegiate Athletic Ass'n, 528 F.3d 426, 430 (6th Cir.

2008) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 167

L.Ed.2d 929 (2007)). In deciding a Rule 12(b)(6) motion, courts consider documents

attached to or incorporated into the complaint as well as facts alleged in the complaint.

Amini v. Oberlin Coll., 259 F.3d 493, 502 (6th Cir. 2001). Although factual allegations

are taken as true, legal conclusions are given no deference—those matters are left for

the court to decide. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (noting tenet that

allegations are taken as true on a motion to dismiss “is inapplicable to legal

conclusions”). “The factual allegations, assumed to be true, must do more than create

speculation or suspicion of a legally cognizable cause of action; they must show

entitlement to relief.” Citizens v. Bredesen, 500 F.3d 523, 527 (6th Cir. 2007)

(emphasis added).

        Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos,

561 U.S. 593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the

pleadings stage if it is apparent from the face of the patent that the asserted claims are

not directed to eligible subject matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d

709, 718-19 (Fed. Cir. 2014) (Mayer, J., concurring). In those situations, claim

construction is not required to conduct a § 101 analysis. Bancorp Servs. L.L.C. v. Sun

Life Assur. Co., 687 F.3d 1266, 1273 (Fed. Cir. 2012) (“[W]e perceive no flaw in the




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notion that claim construction is not an inviolable prerequisite to a validity

determination under § 101.”).


                   2.   The Law of 35 U.S.C. § 101


        Section 101 of the Patent Act sets forth four categories of patentable subject

matter: “any new and useful process, machine, manufacture, or composition of

matter.” 35 U.S.C. § 101. Also, the law recognizes three exceptions to patent

eligibility: “laws of nature, physical phenomena, and abstract ideas.” Diamond v.

Chakrabarty, 447 U.S. 303, 308 (1980) (emphasis added). Abstract ideas are

ineligible for patent protection because a monopoly over these ideas would preempt

their use in all fields. See Bilski, 561 U.S. at 611-12. In other words, “abstract

intellectual concepts are not patentable, as they are the basic tools of scientific and

technological work.” Id. at 653 (quoting Gottschalk v. Benson, 409 U.S. 63, 67

(1972)).

        Determining whether a patent claim is impermissibly directed to an abstract

idea involves two steps. First, the court determines “whether the claims at issue are

directed to a patent-ineligible concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134

S. Ct. 2347, 2355 (2014). Second, if the claim contains an abstract idea, the court

evaluates whether there is “an ‘inventive concept’—i.e., an element or combination

of elements that is sufficient to ensure that the patent in practice amounts to




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significantly more than a patent upon the ineligible concept itself.” Id. (internal

quotations and citations omitted).

        Transformation into a patent-eligible application requires “more than simply

stating the abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting Mayo

Collaborative Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)). Indeed,

if a claim could be performed in the human mind, or by a human using pen and paper,

it is not patent-eligible. CyberSource Corp. v. Retail Decisions, Inc., 654 F.3d 1366,

1372 (Fed. Cir. 2011). Also, a claim is not meaningfully limited if it includes only

token or insignificant pre- or post-solution activity—such as identifying a relevant

audience, category of use, field of use, or technological environment. Mayo, 132 S.

Ct. at 1297-98, 1300-01; Bilski, 561 U.S. at 610; Diamond v. Diehr, 450 U.S. 175,

191-92 & n.14 (1981); Parker v. Flook, 437 U.S. 584, 595 n.18 (1978). Finally,

“simply appending conventional steps, specified at a high level of generality, to laws

of nature, natural phenomena, and abstract ideas cannot make those laws, phenomena,

and ideas patentable.” Mayo, 132 S. Ct. at 1300; see also Fort Props., Inc. v. Am.

Master Lease LLC, 671 F.3d 1317, 1323 (Fed. Cir. 2012) (“Such a broad and general

limitation does not impose meaningful limits on the claim’s scope.”).

        B.         The ’365 Patent is Invalid Under 35 U.S.C. § 101.

        Social Positioning’s Complaint should be dismissed. The claims of the ’365

Patent are invalid under 35 U.S.C. § 101 because they fail both prongs of the Alice

test. Each of the claims is directed to the abstract idea of sharing address information.



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Abstract ideas are not eligible for patenting. None of the claims contains an “inventive

concept sufficient to ensure that the patent in practice amounts to significantly more

than a patent upon the ineligible concept itself.” See Alice, 134 S. Ct. at 2355

(emphasis added). Because Social Positioning has failed to state a claim upon which

relief may be granted, CallPass respectfully requests that the Court grant its motion

and dismiss this case with prejudice. FED. R. CIV. P. 12(b)(6).

                   1.      Alice Step 1: The claims are directed to an abstract idea.

         In determining patent eligibility under § 101, the Court must first determine

whether the claims are directed to an abstract idea. Alice, 134 S. Ct. at 2355. Under

any plausible reading, the claims of the ’365 Patent are directed to an unpatentable,

abstract idea because they claim nothing more than the “longstanding,” “routine,” and

“conventional” concept of sharing address information. See Alice, 134 S. Ct. at 2356;

Bilski, 561 U.S. at 611.


                           (a)      The ’365 Patent is directed to the abstract idea of

                                    sharing address information.

         Claim 1 of the ’365 Patent is directed to the abstract idea of sharing address

information.1 Stripped of its generic terminology, the claim conceivably could cover



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  Asserted Claim 1 of the ’365 Patent is representative of all claims. See, e.g., Phoenix Licensing, L.L.C. v. Consumer
Cellular, Inc., No. 2:16-cv-152-JRG-RSP, 2017 WL 1065938, at *8-9 (E.D. Tex. Mar. 8, 2017) (invalidating 974 claims
after analyzing only a few “representative claims” where the other claims were “substantially similar” and “linked to the
same abstract idea.”).Where claims are “substantially similar and linked to the same abstract idea,” courts may look to
representative claims in a § 101 analysis. Content Extraction and Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n,
776 F.3d 1343, 1349 (Fed. Cir. 2014).




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any generic process of sharing address information. This is especially true given the

purely functional nature of the claim language. For example, Claim 1 could cover the

following scenario: (1) requesting an address from another device via a server (e.g.,

calling friend Alice to ask for friend Bob’s address); and then (2) receiving address

information from the other device via the server (e.g., Alice providing Bob’s address).

Such a broad concept is not patent eligible because it “recite[s] an abstraction—an

idea, having no particular concrete or tangible form.” Ultramercial, 772 F.3d at 715.



        Furthermore, the applicant’s purported invention is not limited to any particular

implementation. ’365 Patent at 4:16-20 (“it is to be understood the principles of the

present disclosure may be applied to any type of navigation or positional information

device including but not limited to a vehicle-mounted device, a GPS receiver coupled

to a desktop computer or laptop, etc”); id. at 9:25-29 (“Once connected to the customer

service center, the user can communicate with the customer service center with voice

communications or with a vehicle user interface (VUI) including but not limited to

keyboard, voice recognition, or mouse or pointer”) (emphasis added)). The

specification, coupled with the broad functional language in Claim 1, confirms that

Social Positioning’s claims do not describe how to implement the allegedly claimed

system, much less how to do so in any non-conventional manner. See Internet Patents

Corp. v. Active Network, Inc., 790 F.3d 1343, 1348 (Fed. Cir. 2015) (concluding that

claim not directed to patent-eligible subject matter where “[t]he mechanism for



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maintaining the state is not described, although this is stated to be the essential

innovation”).

        Additionally, the applicant’s own characterizations demonstrate that the

claimed components do not “improve the functioning of the computer itself,” Alice,

134 S. Ct. at 2359, for example by disclosing an “improved, particularized method of

digital data compression,” DDR Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245,

1259 (Fed. Cir. 2014), or improving “the way a computer stores and retrieves data in

memory,” Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1339 (Fed. Cir. 2016). For

example, in Enfish, the Federal Circuit distinguished the claims from others that

“simply add[ed] conventional computer components to well-known business

practices,” holding instead that “they [we]re drawn to a specific improvement to the

way computers operate.” Id. at 1336. In particular, the unconventional structure of the

database resulted in “increased flexibility, faster search times, and smaller memory

requirements.” Id. at 1337. Unlike Enfish, nothing in the claims of the ’365 Patent

shows any unconventional methodology that would amount to a “specific

improvement in the way computers operate.” Id. Therefore, the focus of the ’365

Patents is not “on [a] specific asserted improvement in computer capabilities” but

instead “on a process that qualifies as an ‘abstract idea’ for which computers are

invoked merely as a tool.” Id. at 1336. The “focus” of Claim 1, instead, is sharing

address information:




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             Claim Language                           Claimed Idea
 1. A method for receiving
 location information at a
 positional information device,
 the method comprising:
 sending a request from a
 requesting positional information
 device to a server for at least one
 address stored in at least one
                                             Requesting address information
 sending positional information
 device, the request including a
 first identifier of the requesting
 positional information device;
 receiving at the requesting
 positional information device,
 from the server, a retrieved at
 least one address to the
 requesting positional information
 device wherein the server
 determines a second identifier
 for identifying the at least one
                                             Receiving address information
 sending positional information
 device based on the received first
 identifier and retrieves the
 requested at least one address
 stored in the identified at least
 one
 sending positional information
 device.
        By only claiming the desired result in a functional manner (requesting and

receiving address information), Claim 1 of the ’365 Patent falls short of claiming

eligible subject matter under § 101. See Internet Patents, 790 F.3d at 1348; see also

Affinity Labs of Tex., LLC v. DIRECTV, LLC, 838 F.3d 1253, 1258 (Fed. Cir. 2016)

(holding that claims were directed to an abstract idea where they claimed “the function

of wirelessly communicating regional broadcast content to an out-of-region recipient,


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not a particular way of performing that function”). And because the claimed system

are to be implemented without the use of any specialized hardware or software

components, the ’365 Patent risks preempting all automated methods or systems for

sharing address information. See, e.g., Loyalty Conversion Sys. Corp. v. Am. Airlines,

Inc., 66 F. Supp. 3d 829, 843 (E.D. Tex. 2014) (finding “preemptive effect . . . broad”

where “the claims [were] largely functional in nature, they [did] not provide any

significant description of the particular means by which the various recited functions

are performed,” and “[a]ll that [was] disclosed [was] the ultimate objective”).


                    (b)   Courts have found similar claims to be directed to

                          patent-ineligible subject matter.

        Courts have found similar patent claims to be directed to abstract ideas.

Recently, the Federal Circuit held that “[c]ontrolling access to resources is exactly the

sort of process that ‘can be performed in the human mind, or by a human using a pen

and paper,’ which we have repeatedly found unpatentable.” Ericsson Inc. v. TCL

Commc'n Tech. Holdings, 955 F.3d 1317, 1327 (Fed. Cir. 2020). The claims here are

directed to the request and receipt of address information, and are thus similar to the

claims at issue in Ericsson, in that these are precisely the types of activities that can

be performed by a human without computers. For instance, a party could call a first

friend and ask for a second friend’s address. The first friend may retrieve the address,

and then provide it the requesting party. Because this process can be performed in this




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fashion, the claims of the ’365 Patent are invalid under the same rationale expressed

by the Federal Circuit in Ericsson.

        Additionally, the Federal Circuit has held the following claims directed to

various acts of information or data acquisition and transfer (including, among others,

acquiring, analyzing, sending, receiving, and publishing data) to be directed to abstract

ideas under the Alice test:

            •      Claims directed to collecting information, even when such information

                   is of a particular type. Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d

                   1350, 1353 (Fed. Cir.2016) (emphasis added).

            •      Claims directed to routing information using result-based functional

                   language. Two-Way Media Ltd. v. Comcast Cable Commc'ns, LLC, 874

                   F.3d 1329, 1337 (Fed. Cir. 2017) (emphasis added);

            •      Claims directed to transmitting information about a mail object over a

                   network using a personalized marking, Secured Mail Solutions LLC v.

                   Universal Wilde, Inc., 873 F.3d 905, 908 (Fed. Cir. 2017) (emphasis

                   added);

            •      A device used for recording a digital image, storing the digital image, and

                   transferring the digital image to a server for further processing, In re TLI

                   Commc’ns, 823 F.3d 607, 609 (Fed. Cir. 2016) (emphasis added).

        Furthermore, patents related to location information have been found to be

directed to the abstract idea of monitoring and communicating information. In



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Wireless Media Innovations, for example, the court invalidated two patents for a

system and method of “monitoring locations, movement, and load status of shipping

containers within a container-receiving yard, and storing, reporting and

communicating this information in various forms through generic computer

functions.” 100 F.Supp.3d 405, 413 (D.N.J. 2015). This was an abstract idea,

according to the court, because these general monitoring and recording functions

“could be carried out by human memory, by hand, or by conventional equipment and

general purpose computer and printer resources.” Id. at 415; see also Joao Control &

Monitoring Sys., LLC v. Telular Corp., 173 F. Supp. 3d 717, 726, 2017 WL 1151052

(N.D. Ill. 2016) (claims found to be “directed to the abstract idea of monitoring and

controlling property and communicating this information through generic computer

functions”); MacroPoint, LLC v. FourKites, Inc., No. 15–cv–1002, 2015 WL

6870118, at *3 (N.D. Ohio Nov. 6, 2015), aff’d, 671 Fed. Appx. 780 (“directed to the

abstract idea of tracking freight”).

        The idea underlying Claim 1 of the ’365 Patent is just as abstract as those in the

Ericsson, Two-Way Media and Wireless Media Innovations claims. As explained

earlier, Claim 1 describes a common human activity that can be performed without a

computer or specialized equipment. Claim 1 does not include any specific limitations

or steps regarding a “specific structure” of computer components used to carry out the

abstract idea of sharing address information. Rather, Claim 1 uses results-based

functional language like “sending a request from a requesting positional information



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device to a server” and “receiving at the requesting positional information device,

from the server, a retrieved at least one address”’365 Patent at Cl. 1. Claim 1 is abstract

because it does “not sufficiently describe how to achieve these results in a non-abstract

way.” Two-Way Media, 874 F.3d at 1337 (holding limitations requiring “sending” and

“directing” of information “d[id] not sufficiently describe how to achieve these results

in a non-abstract way”). Claim 1 cannot be meaningfully distinguished from the

claims in either Ericsson, Two-Way Media, or Wireless Media Innovations.


                   2.   Alice Step 2: The claims do not contain an inventive concept

                        amounting to significantly more than the abstract idea.

        Because Claim 1 is directed to an abstract idea, the Court must next determine

whether it contains an “inventive concept sufficient to transform the claimed abstract

idea into a patent eligible application.” Alice, 134 S. Ct. at 2357 (internal quotations

omitted). To pass this test, Claim 1 “must include additional features” that “must be

more than well-understood, routine, conventional activity.” Ultramercial, 772 F.3d at

715 (quotation omitted). Here, Claim 1 is broadly generic and does not contain

meaningful limitations that would restrict it to a non-routine, specific application of

the abstract idea.

        Although the stated goal of the ’365 Patent is to provide “remotely entering,

storing and sharing location addresses,” ’365 Patent at 2:47-48, not a single technical

improvement is disclosed, much less claimed. Instead, Claim 1 is described only at a




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high level, consisting of generic functional language like “sending a request” and

“receiving . . . at least one address.” And, according to the specification, no specialized

hardware or software is needed to send and receive address information. Id. at 8:23;

12:5.

        While the specification purports to describe the structure of an embedded

system capable of sharing address information, nothing in either Claim 1 or the

specification discloses how the “positional information device” must be configured in

any manner, much less an inventive one. Instead, , the claim limitations simply list

generic hardware without any improvement in technology. See In re TLI, 87 F. Supp.

3d 773, 794 (holding that a “telephone unit limitation is another example of generic

hardware which does not save Claim 17 because it is not inventive”) (emphasis

added). And the specification fares no better, as the invention is described as “a system

and method of programming GPS units from a link on the Global Computer Network

(e.g., the Internet) is also provided.” ’365 Patent at 2:49-51. GPS units and the Internet

are not novel. See Rothschild Location Techs. LLC v. Geotab USA, Inc., No. 6:15-cv-

682, 2016 WL 3584195, at *5, 7 (E.D. Tex. Jan. 4, 2016) (“A GPS device is a well-

known generic computer element insufficient to make otherwise patent ineligible

subject matter patentable.”) .Further details are neither claimed nor disclosed.

        There is simply nothing “inventive” about using known processes (e.g., the

Internet and/or wireless networks) to retrieve address information. See’365 Patent at

9:38-46 (the invention is “described in the context of the GSM mobile



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telecommunications standard” but may “relate[] to all telephone standards including,

and not limited to CDMA and US-TDMA”). Moreover, the abstract functional

descriptions in Claim 1 are devoid of any technical explanation as to how to implement

the purported invention in an inventive way. See In re TLI, 823 F.3d at 615 (claims

failed Alice’s step 2 where specification limited its discussion of “additional

functionality” of conventional components “to abstract functional descriptions devoid

of technical explanation as to how to implement the invention”). Nothing in Claim 1

requires any inventive algorithm or data structure, much less an improved computer

component. See Wireless Media Innovations, 100 F. Supp. 3d 405, 416-417

(“[A]dding a computer to otherwise conventional steps does not make an invention

patent-eligible. Any transformation from the use of computers or the transfer of

content between computers is merely what computers do and does not change the

analysis.”).

        Courts have repeatedly held that the presence of generic hardware and

processing like the kind recited in Claim 1 of the ’365 Patent does not make an

otherwise abstract idea patent-eligible. See, e.g., buySAFE, Inc. v. Google, Inc., 765

F.3d 1350, 1355 (Fed. Cir. 2014) (“That a computer receives and sends the

information over a network—with no further specification—is not even arguably

inventive.”); Two-Way Media, 874 F.3d at 1339 (finding no inventive concept when

“[n]othing in the claims . . . requires anything other than conventional computer and

network components operating according to their ordinary functions”); Wireless



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Media Innovations, 100 F. Supp. 3d 405, 416 (finding that the asserted claims “are not

tied to any particular novel machine or apparatus, only a general purpose computer,

general communication devices, and general vehicles,” and the “specific system

elements . . . merely require generic computer functions that are not inventive.”); see

also Bancorp, 687 F.3d at 1276-77. In addition, an “abstract idea does not become

nonabstract by limiting the invention to a particular field of use or technological

environment, such as [GPS Units].” Intellectual Ventures I LL v. Capital One Bank

U.S.A., 792 F.3d 1363, 1366 (Fed. Cir. 2015).

        This case is thus unlike Berkheimer, where the Federal Circuit noted that the

specification explicitly “describe[d] an inventive feature that store[d] parsed data in a

purportedly unconventional manner.” Berkheimer v. HP Inc., 881 F.3d 1360, 1369

(Fed. Cir. 2018). The Federal Circuit examined whether the improvements described

in the specification were included in the claims. For those claims where the inventive

feature in the specification was “captured in the claims,” the Federal Circuit found a

“factual dispute regarding whether the invention describe[d] well-understood, routine,

and conventional activities.” Id. But where the claims did not recite the purportedly

inventive features described in the specification, the Federal Circuit concluded that

they were directed to patent ineligible subject matter under § 101. Id. Here, in contrast,

there is no need for fact discovery at all because neither the claims nor the

specification describes any unconventional components or the use of generic

components in some unconventional manner. The claims therefore fail Alice’s second



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step because they contain no inventive features, and no amount of fact discovery can

change that.

        The recited limitations—whether considered individually or as an ordered

combination—are insufficient to add “significantly more” to the abstract idea.

Because it is altogether devoid of any “inventive concept,” Claim 1 of the ’365 Patent

is thus patent-ineligible under § 101. See Alice, 134 S. Ct. at 2359-60.

                   3.   The remaining claims are dependent on Claim 1 and are also

                        abstract

        The remaining claims of the ’365 Patent relate to the same abstract concept of

sending and receiving information. The only differences are immaterial in the context

of a § 101 analysis. For example, claim 8 adds only conventional components and

broad functional language, for e.g., “a location information module for determining

location information of the requesting positional information device.” Claim 8 is

therefore directed to same abstract idea, and there is nothing that adds significantly

more to transform the ineligible concept. Alice, 134 S. Ct. at 2355-2357. The

dependent claims relate to (i) identifying information (dependent claims 2, 6, 9, and

13), (ii) type of information (dependent claims 3 and 10), and (iii) source and display

of information (dependent claims 4, 5, 7, 11, 12, 14, and 15). But claiming variations

related to the type and source of information is not inventive. So too is the claims’

identification of additional generic components—particularly because there is no

disclosure of how any of the generic components (e.g., telematics network) must be



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configured in any “inventive” manner to accomplish the desired results. See Internet

Patents, 790 F.3d at 1348.

        None of these additional features amounts to an inventive feature or renders the

claims any less abstract. Regardless of their form, therefore, all of the claims of the

’365 Patent fail both prongs of Alice because they are directed to an abstract idea and

recite no inventive concept. Alice, 134 S. Ct. at 2355, 2357.

V.      CONCLUSION

        For the foregoing reasons, CallPass respectfully requests that the Court dismiss

Social Positioning’s Complaint for failure to state a claim upon which relief can be

granted. Because leave to amend would be futile, CallPass requests dismissal with

prejudice.


Dated: March 5, 2021
                                            Respectfully submitted,

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                           CERTIFICATE OF SERVICE
        The undersigned hereby certifies that a true and correct copy of the above and

foregoing document has been served on March 5, 2021, to all counsel of record who

are deemed to have consented to electronic service via the Court’s CM/ECF system.


                                                     /s/ Eleanor T. Barnett
                                                    Eleanor T. Barnett, Esq.




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